332 F.2d 791
    NATIONAL LABOR RELATIONS, BOARD, Petitioner,v.DANIELS CONSTRUCTION COMPANY OF VIRGINIA, Respondent.
    No. 9274.
    United States Court of Appeals Fourth Circuit.
    Argued April 22, 1964.Decided May 18, 1964.
    
      Melvin H. Reifin, Atty., N.L.R.B.  (Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Assoc.  Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, and James C. Paras, Atty., N.L.R.B., on brief), for petitioner.
      Robert T. Thompson, Atlanta, Ga., (Knox L. Haynsworth, Jr., Greenville, S.C., and Thompson, Ogletree &amp; Haynsworth, Atlanta, Ga., on brief), for respondent.
      Before SOBELOFF, Chief Judge, and BRYAN and J. SPENCER BELL, Circuit judges.
      PER CURIAM:
    
    
      1
      The Board seeks enforcement of its order based upon a finding by the Examiner1 that the Respondent violated Section 8(a)(1)2 of the National Labor Relations Act by discharging two of its employees for having sponsored the election of a particular person as shop foreman, a concerted activity protected by Section 73 of the Act.  Our duty to examine the record as a whole to determine whether there is substantial evidence to support the Board's findings was made impossible by the Examiner's ignoring without explanation or analysis and seemingly without consideration the evidence offered by the Respondent.  No anti-union bias was found, and the Respondent's offer of a coherent and logical explanation for its conduct deserves a less cavalier treatment.
    
    
      2
      Denied.
    
    
      
        1
         The Board adopted the Examiner's findings, conclusions and recommendations
      
      
        2
         49 Stat. 452 (1935), as amended, 61 Stat. 140, 29 U.S.C.A. 158(a)(1) (1947)
      
      
        3
         49 Stat. 452 (1935), as amended, 61 Stat. 140, 29 U.S.C.A. 157 (1947)
      
    
    